        Nicholas J. Henderson, OSB #074027
        Motschenbacher & Blattner LLP
        117 SW Taylor St., Suite 300
        Portland, OR 97204
        Telephone: (503) 417-0508
        Facsimile: (503) 417-0528
        nhenderson@portlaw.com

                  Of Proposed Attorneys for Debtors-in-Possession


                                   UNITED STATES BANKRUPTCY COURT

                                              DISTRICT OF OREGON


         In re:                                                Case No. 20-31020-dwh12

               MARK F. HAUETER, and                            NOTICE OF MOTION
               CORI L. HAUETER,

                                 Debtors.




                                            NOTICE – LBR 9019-1(B)

                  PLEASE TAKE NOTICE: If you oppose the proposed course of action or relief sought in

        the attached motion, you must file a written objection with the bankruptcy court within 14 days

        after the date listed in the certificate of service below. If you do not file an objection, the court

        may grant the motion without further notice or hearing. Your objection must set forth the specific

        grounds for objection and your relation to the case.

        /////

        /////

        /////




Page 1 of 2       NOTICE OF MOTION                                                           MOTSCHENBACHER & BLATTNER LLP
                                                                                               117 SW Taylor Street, Suite 300
                                                                                                   Portland, Oregon 97204
{00350137:1}                                                                                        Phone: 503-417-0500
                                                                                                     Fax: 503-417-0501
                               Case 20-31020-dwh7           Doc 25     Filed 04/10/20                www.portlaw.com
               The objection must be received by the clerk of the court at United States Bankruptcy

        Court, 1050 SW 6th Avenue, #700, Portland, OR 97204, by the deadline specified above or it

        may not be considered. You must also serve the objection on Nicholas J. Henderson,

        Motschenbacher & Blattner LLP, 117 SW Taylor Street, Suite 300, Portland, OR 97204, within

        that same time. If the court sets a hearing, you will receive a separate notice listing the hearing

        date, time, and other relevant information.




Page 2 of 2     NOTICE OF MOTION                                                           MOTSCHENBACHER & BLATTNER LLP
                                                                                             117 SW Taylor Street, Suite 300
                                                                                                 Portland, Oregon 97204
{00350137:1}                                                                                      Phone: 503-417-0500
                                                                                                   Fax: 503-417-0501
                               Case 20-31020-dwh7          Doc 25     Filed 04/10/20               www.portlaw.com
        Nicholas J. Henderson, OSB #074027
        Motschenbacher & Blattner LLP
        117 SW Taylor St., Suite 300
        Portland, OR 97204
        Telephone: (503) 417-0508
        Facsimile: (503) 417-0528
        nhenderson@portlaw.com

                  Of Proposed Attorneys for Debtors-in-Possession


                                   UNITED STATES BANKRUPTCY COURT

                                             DISTRICT OF OREGON


         In re:                                              Case No. 20-31020-dwh12

               Mark F. Haueter and Cori L. Haueter,          DEBTORS’ APPLICATION FOR
                                                             AUTHORIZATION TO EMPLOY
                                 Debtors.                    BANKRUPTCY COUNSEL
                                                             (Motschenbacher & Blattner LLP)


                  Mark F. Haueter and Cori L. Haueter (the “Debtors”), hereby move this Court for entry

        of an order authorizing them to employ Motschenbacher & Blattner LLP (“M&B”) as their

        general bankruptcy counsel in this case. In support of this application, the Debtors represent:

                                                 BACKGROUND

                  1.     On March 17, 2020, (the “Petition Date”), the Debtors filed herein a voluntary

        petition under Chapter 12 of the Bankruptcy Code. The Debtors are continuing in the

        management and possession of their business and properties as debtors-in-possession under

        section 1207(b). As of the date hereof, no trustee or examiner has been requested or appointed in

        this case.

                  2.     The Debtors own and operate a cattle ranch in Ontario, Oregon. Debtor Mark

        Haueter raises cattle at the Debtors’ property, and at a leased pasture/feedlot in Ontario.


Page 1 of 4       DEBTORS’ APPLICATION FOR AUTHORIZATION TO EMPLOY                        MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
                  BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                            Portland, Oregon 97204
{00350137:1}                                                                                     Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                Case 20-31020-dwh7        Doc 25     Filed 04/10/20               www.portlaw.com
               3.        M&B commenced rendering prepetition litigation and bankruptcy services to the

        Debtors on January 23, 2019. The details concerning M&B’s engagement as bankruptcy counsel,

        and the payments made to M&B in connection with that engagement, are disclosed in the

        accompanying Rule 2014 Statement.

                                                  JURISDICTION

               4.        This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

        1334 and LR 2100-1. Consideration of this application constitutes a core proceeding within the

        meaning of 28 U.S.C. § 157(b)(2)(A). The statutory predicates for the relief sought by this

        application are sections 327(a) and 1107 of the Bankruptcy Code. Venue is proper under 28

        U.S.C. § 1408.

                                                  JURISDICTION

               5.        By this application, the Debtors seek entry of an order, effective as of the date of

        this Motion, authorizing them to employ M&B as their general bankruptcy counsel in this

        Chapter 12 case on an hourly basis, on the terms set forth in the engagement materials attached

        hereto as Exhibit 1.

               6.        A proposed form of order is attached as Exhibit 2.

                                          POINTS AND AUTHORITIES

               7.        Subject to further order of this Court, and subject to the limitations described in

        paragraph 8 below, the Debtors proposes to engage M&B for purposes of (i) consulting with

        them concerning the administration of the case, (ii) advising them with regard to its rights,

        powers and duties as debtors-in-possession, (iii) investigating and, if appropriate, prosecuting on

        behalf of the estate claims and causes of action belonging to the estate, (iv) advising them

        concerning alternatives for restructuring their debts and financial affairs pursuant to a plan or, if


Page 2 of 4     DEBTORS’ APPLICATION FOR AUTHORIZATION TO EMPLOY                            MOTSCHENBACHER & BLATTNER LLP
                                                                                              117 SW Taylor Street, Suite 300
                BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                                Portland, Oregon 97204
{00350137:1}                                                                                       Phone: 503-417-0500
                                                                                                    Fax: 503-417-0501
                                Case 20-31020-dwh7          Doc 25     Filed 04/10/20               www.portlaw.com
        appropriate, liquidating their assets, and (v) preparing the bankruptcy schedules, statements and

        lists required to be filed by the Debtors under the Bankruptcy Code and applicable procedural

        rules.

                 8.     The Debtors are separated and are currently parties to a pending divorce case.

        The Debtors are expressly excluding from M&B’s engagement any representation regarding

        division of the assets in their bankruptcy estate. Debtors will seek to employ separate special

        counsel for each of them, under 11 U.S.C. § 327(e), to advise them on an individual basis as to

        their separate affairs. See, e.g., In re Goldstein, 383 B.R. 496, 502 (Bankr. C.D. Cal. 2007)

        (divorcing debtors hired one bankruptcy counsel and allowed to hire separate divorce counsel

        under § 327(e)). The limitations of M&B’s representation are further set forth in Exhibit 1.

                 9.     The Debtors have selected M&B for the reason that they believe the firm is well

        qualified to represent them in this case. M&B has substantial expertise in matters relating to

        bankruptcy and business reorganizations.

                 10.    The proposed rate of compensation, subject to this Court’s approval, are the

        customary hourly rates in effect when services are performed by the attorneys and other firm

        personnel who provide professional services to the Debtors. The current hourly rates for those

        persons presently designated to work on this case are as follows:

                       Name                          Status                        Hourly Rate
               Nicholas J. Henderson                 Partner                          $425.00
                 Alex C. Trauman                     Partner                          $400.00
                  Troy G. Sexton                    Associate                         $350.00
                  Jeremy Tolchin                    Associate                         $325.00
                    Sean Glinka                     Associate                         $325.00
                Legal Assistants and              Legal Assistant                $85.00 to $150.00
                     Paralegals




Page 3 of 4      DEBTORS’ APPLICATION FOR AUTHORIZATION TO EMPLOY                        MOTSCHENBACHER & BLATTNER LLP
                                                                                           117 SW Taylor Street, Suite 300
                 BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                            Portland, Oregon 97204
{00350137:1}                                                                                    Phone: 503-417-0500
                                                                                                 Fax: 503-417-0501
                               Case 20-31020-dwh7        Doc 25     Filed 04/10/20               www.portlaw.com
               11.     To the best knowledge of the Debtors, except as disclosed in the accompanying

        Rule 2014 Verified Statement for M&B, M&B does not have any connections with the Debtors,

        creditors, any other party in interest, their respective attorneys or accountants, the United States

        trustee or any person employed in the office of the United States trustee, or any District of

        Oregon bankruptcy judge.

               12.     To the best knowledge of the Debtors, M&B is a disinterested person within the

        meaning of section 101(14) of the Bankruptcy Code and does not represent or hold any interest

        adverse to the interests of the estate or of any class of creditors or equity security holders.

               WHEREFORE, the Debtors request entry of an order, effective as of the date below,

        authorizing them to employ M&B as their general bankruptcy counsel in this Chapter 12 case on

        an hourly basis, with compensation and reimbursement of expenses to be paid as an

        administrative expense in such amounts as the Court may allow under sections 330 and 331 of

        the Bankruptcy Code.


         DATED: April 10, 2020

         /s/ Mark Haueter                                   /s/ Cori Haueter
         Mark Haueter, Debtor                               Cori Haueter, Debtor




Page 4 of 4     DEBTORS’ APPLICATION FOR AUTHORIZATION TO EMPLOY                            MOTSCHENBACHER & BLATTNER LLP
                                                                                              117 SW Taylor Street, Suite 300
                BANKRUPTCY COUNSEL (Motschenbacher & Blattner LLP)                                Portland, Oregon 97204
{00350137:1}                                                                                       Phone: 503-417-0500
                                                                                                    Fax: 503-417-0501
                               Case 20-31020-dwh7          Doc 25      Filed 04/10/20               www.portlaw.com
                              EXHIBIT 1

                      ENGAGEMENT MATERIALS




{00350137:1}


               Case 20-31020-dwh7   Doc 25   Filed 04/10/20
                BANKRUPTCY ATTORNEY-CLIENT FEE AGREEMENT
                               (Chapter 12)

CLIENTS:               Mark Haueter (“Husband”) and Cori Lyn Haueter (“Wife”)

ATTORNEY:              Nicholas J. Henderson

FIRM:                  Motschenbacher & Blattner LLP (the “Firm”)

EFFECTIVE:             March 17, 2020

       Husband and Wife (jointly, the “Clients”) desire to retain Attorney and the Firm for the
purposes described in this Agreement and agree to be responsible for payment of the Firm’s fees
and costs as established in this Agreement. Attorney and the Firm agree to represent Clients
under the terms and conditions of this Agreement and to be compensated at the rates set forth in
this Agreement.

Section I – Scope of Representation

         A.     Included in Scope of Engagement: Except as specifically described in
Subsection B (Excluded from Scope of Engagement) below, Clients request and the Firm agrees
to render the following professional services (the “Services”): (a) giving the Clients legal advice
with respect to their business/farming operations; (b) assisting the Clients in any proposed
reorganization of their business/farming operation; (c) if authorized, filing an appropriate petition
for relief under Title 11 of the United States Bankruptcy Code; (d) giving the Clients legal advice
with respect to their powers and duties in any proceeding in bankruptcy; (e) proposing on behalf
of the Clients all necessary applications, answers, orders, reports or other legal papers; and (f)
performing for the Clients any and all other legal services which may be necessary in connection
with the filing of any petition or proceeding in bankruptcy.

        B.      Excluded from Scope of Engagement: Notwithstanding anything to the
contrary in this Agreement, Clients agree that Firm cannot and will not handle any matter
involving claims between Husband and Wife, or their respective bankruptcy estates. Clients are
each involved in a pending divorce action, and each of them have separate divorce counsel. Firm
will assist Clients in seeking employment of their respective divorce attorneys under § 327(e) of
the Bankruptcy Code. Clients will seek advice from their respective divorce counsel regarding
any claims against the other, or any defenses thereto. Clients acknowledge that they have
waived all conflicts of interest with respect to the Firm’s representation of both Clients in their
joint Chapter 12 bankruptcy case, as more fully set forth on the attached Addendum 1.

Section II –Compensation

        Clients and the Firm agree that the Firm’s compensation for services performed pursuant
to this Agreement shall be the Firm’s customary hourly rates in effect at the time the services are
performed for the attorneys, legal assistants and staff who provide services for the Client.




{00354600:2}


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At the time of the execution of this Agreement, the Firm’s current hourly rates are as follows:

                      NAME                                    RATE
               Nicholas J. Henderson                        $425.00/hr.
               Alexander C. Trauman                         $400.00/hr.
               Troy G. Sexton                               $350.00/hr.
               Jeremy Tolchin                               $315.00/hr.
               Sean Glinka                                  $315.00/hr.
               Legal Assistants                             $85.00-150.00/hr.

       These hourly rates are subject to periodic adjustment (no more than annually) to reflect
economic conditions and increased experience and expertise in this area of law. Attorney's time
and paralegal time is billed in minimum 0.10 hour increments. Clients will be provided with
itemized monthly statements for services rendered and expenses incurred, which will be mailed
on approximately the 10th of each calendar month. Clients should not pay these statements until
approved by the Bankruptcy Court.

        Firm and Clients agree that the actual fees to be incurred in the case are difficult to
predict, because of a variety of factors, many of which are not within the control of Firm or
Clients. Firm and Clients acknowledge that the Bankruptcy Court is entitled to review Firm’s
fees for reasonableness. The Bankruptcy Court may reduce the amount of the fees billed in such
amount that it determines reasonable based on the totality of the circumstances, including a
consideration of the reasonableness of the fees based on the circumstances which existed at the
time the employment began, as well as a consideration of the reasonableness of the fee after the
services have been rendered and the representation has concluded. If the Bankruptcy Court
requires a reduction in the amount of any fees charged, Firm and Clients agree that all other
terms and conditions of this fee agreement shall continue to apply.

        Firm and Clients agree that the existence of this Agreement shall be adequately disclosed
to the Court and other interested parties, including but not limited to the United States Trustee.
The retainer amount paid by Clients was $20,000, which includes the amount of the filing fee for
Chapter 12.

        In addition to the foregoing hourly rates, Clients agree to be responsible for payment of
all costs incurred in representing the Clients. Examples of such costs include filing fees, court
reporter fees, long distance telephone, photocopies (whether made in the Attorney's office or an
outside printing service), postage expenses, etc. The Attorney's “Expense Policy Statement” is
attached as Exhibit “B.”

       Clients have been informed and acknowledges that Attorney has no responsibility to hire
outside professionals such as appraisers, accountants, bookkeepers, expert witnesses, etc., unless
those costs are paid in advance by the Clients to the Attorney.

        All professionals must also be approved by the Bankruptcy Court before starting work,
or the Court will deny payment to the professional.




{00354600:2}


                      Case 20-31020-dwh7         Doc 25     Filed 04/10/20
        Firm shall have the option, but not the duty, to proceed with representing Clients prior to
payment of the above described retainer. If Attorney performs services prior to receipt of the
retainer, the Attorney may withdraw from representing the Clients at any time prior to payment
of the agreed retainer.

III.     Other Terms

        Clients agree to cooperate with the Firm, to complete all forms requested by the Firm and
to provide the Firm with all information necessary to enable the Firm and Attorney to represent
the Clients’ best interests. If Clients unreasonably decline to cooperate, or should knowingly
provide the Firm or Attorney with false or fraudulent information or testify untruthfully in any
matter before the Court, Clients agree that Attorney shall have the right to request court approval
to resign. If permitted by law, should either party find it necessary to take steps to enforce this
Agreement, the costs of doing so, including reasonable Attorney fees both before trial, at trial or
after appeal, as determined by the Court, will be borne by the losing party.

         Clients acknowledge that Attorney has advised that the actual Attorney fees and
expenses, considering the size and complexity of case, will be substantial, and will exceed the
amount of the retainer. Clients acknowledge that the Attorney has advised that under applicable
rules, the Firm has the right to submit an application for payment of fees to the court in
accordance with the court's rules, which will be done as frequently as court rules permit. Such
petitions for fees, when approved, will be paid from the Client's post-petition income.

        Attorney strives to keep Clients informed of the work Attorney is performing, and
Attorney stands ready to explain its services and invoices to Clients’ satisfaction. If Clients ever
have questions regarding the Firm’s charges, please let Attorney know immediately so that
Attorney can attempt to resolve any concerns fairly and without delay. Also, if Clients have a
particular need relative to the Firm’s invoicing (e.g., the billing format or timing of delivery),
please let Attorney know and Attorney will try to accommodate the Clients.

        Clients may terminate the attorney/client relationship at any time and for any reason by
delivering to Attorney a written notice of termination. Attorney and the Firm also reserve the
right to terminate the attorney/client relationship, by delivering to Clients a written notice, if
Clients fail to pay the Firm when due any amount Clients owes the Firm, if Clients fail to
cooperate with Attorney of the Firm, or fail to disclose material information, or if for any other
reason Attorney feels Attorney is unable to continue an effective attorney/client relationship, in
each case, to the extent permitted by the applicable rules of professional conduct, and subject to
any applicable rules requiring notice and approval by the bankruptcy court. Upon any
termination, Clients will remain liable for all fees, costs and expenses incurred prior to the
termination of the attorney/client relationship. Upon termination, Attorney will provide Clients
with the original or a copy of all Clients’ files in the Firm’s possession, retaining a copy for Firm
in Attorney’s discretion and at Firm’s cost. Once Attorney’s representation is terminated,
Attorney and the Firm will have no obligation to inform Clients of due dates, subsequent
developments or the like, or to maintain any documents or dockets relating to Clients’ matters.




{00354600:2}


                       Case 20-31020-dwh7         Doc 25     Filed 04/10/20
        The Firm appreciates the opportunity to serve as Clients’ attorneys and anticipates a
productive and harmonious relationship. If, however, Clients become dissatisfied for any reason
with the services performed or Clients dispute any of the fees, costs or expenses charged by the
Firm, Attorney encourages Clients to bring that dissatisfaction or dispute to Attorney’s attention
at the earliest possible time. Most problems should be rectifiable through such communication.
However, should a dispute arise between Attorney and/or Clients which cannot be resolved in
that manner, then the bankruptcy court will resolve the dispute.

       A solid attorney/client relationship is a two-way street. Lawyers need timely and
complete cooperation and assistance from their clients just as clients need timely and complete
cooperation and assistance from their lawyers. Attorney will therefore endeavor to keep Clients
informed of Clients’ matters as they progress. Similarly, Clients agree to provide Attorney and
the Firm with timely responses to requests for documentation and information and to make
available to Firm personnel in order that the Firm may effectively carry out its function as
Clients’ attorneys. If Attorney does not obtain such cooperation, the quality of Attorney’s
representation may suffer and Attorney may feel constrained to withdraw from any further work.

     FIRM AND ATTORNEY DO NOT UNDERTAKE TO GIVE THE CLIENTS TAX
ADVICE. CLIENTS AGREES TO CONSULT THEIR OWN ACCOUNTANT(S) OR
COMPETENT TAX COUNSEL, WITH RESPECT TO ALL TAX ISSUES.

         DATED:          April 10, 2020


ATTORNEY:                                            CLIENTS:

MOTSCHENBACHER & BLATTNER, LLP

       /s/ Nicholas J. Henderson                            Mark F. Haueter
By:                                                  By:
      Nicholas J. Henderson                                Mark F. Haueter

                                                            Cori L. Haueter
                                                     By:
                                                           Cori L. Haueter



Attachments:                                                         Initial If Rec’d:
                                                                       MH CH
                A. Conflict Disclosure and Waiver (Exhibit A)
                                                                       MH CH
                B. Expense Policy Statement (Exhibit B)




{00354600:2}


                       Case 20-31020-dwh7        Doc 25       Filed 04/10/20
                                        EXHIBIT B
                            Attorney’s Expense Policy Statement

Photocopies:        $0.10 per page (in house)

Outside Services:   All outside entity bills are charged at actual cost.

Postage:            Postage, express mail and other overnight delivery or air courier services
                    are charged at actual cost.

Long Distance:      Long distance telephone charges are billed to Clients at actual cost.

Computerized
Research:           Actual (i.e., invoiced) cost. Time associated with computerized research to
                    be specifically identified on attorney time detail.

Travel:             Travel expenses are actual and Air fare is coach or economy class only.
                    Mileage is charged at the rate of allowed for federal tax deductions.

Pacer:              Actual cost ($0.10 per page).

Other:              Any charges not mentioned above will be charged in accordance with the
                    applicable U.S. Bankruptcy Court Cost Guidelines contained in
                    Bankruptcy Rule 2016, and in Local Rule 2016-1(b)(2).




{00354600:2}


                    Case 20-31020-dwh7          Doc 25     Filed 04/10/20
                                                                                             Nicholas J. Henderson
                                                                               Admitted in Oregon and Washington
                                                                                             Direct: 503-417-0508
                                                                                         nhenderson@portlaw.com
                                                                                                www.portlaw.com
                                           March 17, 2020

VIA EMAIL ONLY

 Cori Haueter                                       Mark Haueter
 325 Grove Road                                     4940 Kimball Rd.
 Ontario, OR 97914                                  Ontario, OR 97914
 corkyhaueter@yahoo.com                             hauetermark@gmail.com


         Re:   Renewed Waiver of Potential Conflict of Interest and
               Consent to Joint Representation

Dear Mark and Cori:

       You’ve asked me to represent both of you in a joint Chapter 12 bankruptcy case. I’m
writing to confirm the conflict of interest disclosure you have both received in the past, and
renew the conflict of interest waiver you have both provided in the past.

        Since the commencement of my representation, the two of you have commenced a
divorce action in Malheur County Circuit Court. Although we have previously discussed the
conflict of interest issues that have arisen as a result of your divorce, the issue is important and I
would like to confirm our discussion, and your waiver of conflicts of interest.

        The Oregon Rules of Professional Conduct prohibit one attorney or law firm from
representing two clients on a matters in which there is a direct conflict of interest. From our
converstions, your interests are aligned with respect to preserving your joint assets from
collection efforts by your creditors, and in seeking relief in a joint Chapter 12 bankruptcy case.
On those matters, I can represent both of you, as long as your interests continue to be aligned.

        However, your interests are not aligned with respect to the division of the assets you are
seeking to preserve. Neither my firm nor I can represent either of you on those matters. It is my
understanding that those issues will be handled by your respective divorce attorneys that are
handling your affairs in the divorce action. I will help you both in seeking to employ your
divorce attorneys in the bankruptcy case. Your individual divorce attorneys can advise each of
you with respect to your dispute with each other. Any issues regarding division of your marital
assets, or any related issues, are expressly excluded from the scope of my firm’s engagement.




                                 EXHIBIT A - Page 1 of 2
{00354723:1}           Case 20-31020-dwh7 Doc 25 Filed 04/10/20
MOTSCHENBACHER & BLATTNER       LLP


     April 8, 2020
     Page 2


              With any joint representation, it is possible that your interests may come into conflict
     later in ways that we cannot predict now. If they do, it may prevent us from continuing to
     represent you in this matter. In that situation, my firm would need to withdraw from
     representing both of you, and you would need to retain separate lawyers to represent you in the
     bankruptcy case.

             You should also consider the potential impact of joint representation on the attorney-
     client privilege. In joint representation, anything you tell me or my firm’s personnel in
     confidence is subject to the attorney-client privilege as it relates to others. However, in a joint
     representation, I cannot keep secrets from either of you. By agreeing to this joint representation,
     you are authorizing us to share with each of you anything that you tell us separately relating to
     your joint representation. If you need to discuss a matter that you do not want shared with each
     other, you will need to consult your separate counsel.

            Please consider this situation and decide whether you wish to consent to my continued
     representation of both of you. Oregon law requires me to recommend that each of you consult
     with separate counsel in deciding whether or not your consent should be given. In this case, you
     should consult with your separate divorce counsel.

             If you have questions that you would like me to answer before you make a decision,
     please let me know. If, after such review as you believe appropriate, you decide to consent to my
     continued representation of both of you in spite of the limitations discussed in this letter, please
     sign this letter below and return it to me.

                                                   Very truly yours,

                                                   MOTSCHENBACHER & BLATTNER          LLP




                                                   Nicholas J. Henderson



            We acknowledge that potential conflicts of interest are present in this representation, and
     we hereby waive all conflicts of interest to the fullest extent possible:


     ____________________________________                  ___________________
     Mark Haueter                                          Date


     ____________________________________                  ___________________
     Cori Haueter                                          Date


                                     EXHIBIT A - Page 2 of 2
     {00354723:1}          Case 20-31020-dwh7 Doc 25 Filed 04/10/20
                              EXHIBIT 2

                          PROPOSED ORDER




{00350137:1}


               Case 20-31020-dwh7   Doc 25   Filed 04/10/20
                                  UNITED STATES BANKRUPTCY COURT

                                           DISTRICT OF OREGON


         In re:                                           Case No. 20-31020-dwh12

               MARK F. HAUETER, and                       ORDER AUTHORIZING EMPLOYMENT
               CORI L. HAUETER,                           OF BANKRUPTCY COUNSEL FOR
                                                          DEBTORS
                                Debtor.                   (Motschenbacher & Blattner LLP)


                  THIS MATTER having come before the Court on the Debtors’ Application for

        Authorization to Employ Bankruptcy Counsel [ECF No. ___] (the “Application”), for an order

        authorizing them to employ Motschenbacher & Blattner LLP as attorneys for Mark F. Haueter

        and Cori L. Haueter (the “Debtors”); the Court having reviewed the motion and accompanying

        2014 statement, and being otherwise duly advised; now, therefore,

        /////

        /////

        /////

Page 1 of 2       ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                        MOTSCHENBACHER & BLATTNER LLP
                                                                                      117 SW Taylor Street, Suite 300
                  COUNSEL FOR DEBTORS (Motschenbacher & Blattner LLP)                     Portland, Oregon 97204
{00350137:1}                                                                               Phone: 503-417-0500
                                                                                            Fax: 503-417-0501
                                                                                            www.portlaw.com
                               Case 20-31020-dwh7      Doc 25     Filed 04/10/20
                  IT IS HEREBY ORDERED as follows:

               1) Debtors’ Application is approved, and Debtors are authorized to employ the law firm of

        Motschenbacher & Blattner LLP as Debtors’ Chapter 12 counsel to represent Debtors in

        conducting the case, on the terms and conditions set forth in the engagement materials attached

        to the Application as Exhibit 1; and

               2) The Debtors shall pay said attorneys for their services, and shall reimburse expenses

        incurred by said attorneys, only upon the entry of an order of the Court approving such fees and

        expenses under 11 U.S.C § 330, and other applicable provisions of the Bankruptcy Code and

        Local Bankruptcy Rules.

                                                         ###

        Order Presented by:

        MOTSCHENBACHER & BLATTNER, LLP

        /s/ Nicholas J. Henderson
        Nicholas J. Henderson, OSB #074027
        Telephone: 503-417-0508
        E-mail: nhenderson@portlaw.com
        Of Proposed Attorneys for Debtors-in-Possession


        PARTIES TO SERVE:

         CM/ECF Service:                                     Via First-Class Mail:

         All participants.                                   None.




Page 2 of 2      ORDER AUTHORIZING EMPLOYMENT OF BANKRUPTCY                               MOTSCHENBACHER & BLATTNER LLP
                                                                                            117 SW Taylor Street, Suite 300
                 COUNSEL FOR DEBTORS (Motschenbacher & Blattner LLP)                            Portland, Oregon 97204
{00350137:1}                                                                                     Phone: 503-417-0500
                                                                                                  Fax: 503-417-0501
                                                                                                  www.portlaw.com
                                 Case 20-31020-dwh7         Doc 25    Filed 04/10/20
                                              CERTIFICATE OF SERVICE

                   I hereby certify that on the date set forth below, a true and correct copy of the foregoing

        DEBTORS’ APPLICATION FOR AUTHORIZATION TO EMPLOY BANKRUPTCY

        COUNSEL (Motschenbacher & Blattner LLP) was provided to the following parties through

        the Court’s Case Management/Electronic Case File system:


                  Virginia Andrews Burdette vab@andrewsburdette.com,
                   ta@andrewsburdette.com;vbch12tr@seanet.com
                  ROBERT A FAUCHER ,
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                   I further certify that on the date set forth below, a true and correct copy of the above-

        described document was sent to the following parties via first class mail, postage prepaid:

                      NONE


        DATED: April 10, 2020                             MOTSCHENBACHER & BLATTNER LLP

                                                          By:/s/Nicholas J. Henderson
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Page 1 of 1        CERTIFICATE OF SERVICE                                                     MOTSCHENBACHER & BLATTNER LLP
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